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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JC)HN DOE, JOSEPH DOE,
and JANE DOE
of Abington, Pennsylvania

Civil Action
Plaintiffs :
v. : No.
ALBRIGHT COLLEGE
621 N. 13th Street
Reading, Pennsylvania 19604
Jury Trial Demanded
Defendant
COMPLAINT
I. Preliminal_'y Statement
l. This action is brought by John Doe (“John”), a pseudonym for a young man

unfairly and falsely accused of sexual misconduct (i.e., a sexual assault) by a female student (the
“Accuser” or “Complainant”) at Defendant Albright College (“Albright” or “Defendant”), which
John formerly attended; as well as his parents, Joseph Doe and Jane Doe. A seriously deficient
investigation and administrative hearing at Albright initially erroneously found John to have
been responsible for such alleged misconduct He was later, and correctly, found to be not
responsible in a second proceeding, but only after having suffered devastating humiliation,
emotional trauma, and other damages as described herein.

2. ln response to the false complaint of sexual assault, Defendant rushed to
judgment, following an entirely inadequate investigation, including the failure to interview
numerous witnesses who would have corroborated John’s version of events and rendered

incredible the version of events offered by the Accuser. Instead, Defendant chose to interview

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only two female friends of the Accuser (and ignore the male witnesses who had far more direct
and substantial information about the events in question) before initiating and adjudicating
disciplinary proceedings against John. These facts, along with other circumstances, establish
that Defendant’S actions and inactions were unlawful and the product of gender bias.

3. The disciplinary hearing that John attended was riddled with profound and
obvious procedural errors in violation of the policies and procedures set forth in Defendant’s
own student handbook and Title IX of the Educational Amendments of 1972 as described herein.
F or instance, in direct violation of the student handbook and federal law, John was barred from
calling crucial witnesses for a purported failure to give some particular “notice” of the witnesses,
where there was no such provision in the student handbook. Moreover, John, in direct violation
of the student handbook and federal law, was forced to testify prior to the Accuser, giving her
the opportunity to mold her story in reaction to John’s testimony, and depriving John of the
opportunity to rebut the Accuser’s false allegations

4. The result of these flawed and discriminatory proceedings was that John was
improperly and erroneously found “responsible” on the false charge of sexual misconduct, which
resulted in financial damages (to both him and his parents), academic decline, social isolation,
hu.miliation, embarrassment, and significant emotional suffering, which continues to the present.

5. Following the “responsible” determination, John filed an appeal to Gina-Lyn
Cr'ance, Albright’s Vice President for Student Affairs and Dean of Students, which, due to
admitted maj or violations - both substantive and procedural - in the first hearing, resulted in his
being granted a new hearing. The result of this hearing, which eliminated some, but not all, of

the highly prejudicial errors of the first hearing, was that John was correctly found “not

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responsible” for the false sexual misconduct charge.

6. The “not responsible” determination following the second hearing in no way
vitiated the damages caused by Defendant’s actions and inactions with relation to the flawed
investigation and first hearing. John remains stigmatized and traumatized; he was emotionally
unable to return to Albright, and his academic career and potential future earning power have
been greatly, and negatively, affected by the events at issue. While John has struggled to “move
on” with his life following the events at issue, the lasting affects of Defendant’s actions and
inactions continue and will continue into the future.

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'7. Plaintiff John Doe resides in or around Abington, Pennsylvania. His parents,
Joseph and Jane Doe, reside with him in Abington, Pennsylvania.

8. Defendant Albright College is located at 621 N. 13th Street, Reading,
Pennsylvania 19604, 19426. During all times relevant to this complaint, Albright was the
recipient of several sources of federal funds.

II][. Jurisdiction and Venue

9. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331
because this case raises federal questions under Title IX of the Educational Amendments of
l972, 20 U.S.C. § l681(a). This Court has further jurisdiction over lPlaintiffs’ state law claims
on the basis of supplemental jurisdiction pursuant to 28 U.S.C. § l367(a). The amount in
controversy, exclusive of interest and costs, exceeds $75,000.

lO. All of the Defendant’s actions complained of herein have taken place within the

jurisdiction of the United States District Court for the Eastern District of Pennsylvania. Venue is

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appropriate in this District pursuant to 28 U.S.C. § l39l.
IV. Additional Facts Supporting Liability

ll. Plaintiff John Doe and the Accuser were students at Albright University during all
relevant times. Albright’s Code of Conduct and its procedures and processes are contained
within a publication called T he Compass, and constitute a binding contract between the Plaintiffs
and Albright.

l2. At the time that the Accuser falsely accused John of sexual misconduct, John and
the Accuser had known each other for some time, having met in 20l4.

13. John was accused of sexual misconduct by the Accuser as a result of alleged
events that commenced on the night of January 7, 2016. Af`ter some delay, during which time the
Accuser attended a party at John’s house, along with her boyfriend (“Boyfriend”), and followed
John on social media and “liked” some of his posts, the Accuser complained to the Reading
Police Department and then, after some weeks, to Albright authorities, that she had been the
victim of a sexual assault.

14. The Reading police investigated the Accuser’s’s allegations, and conducted at
least two formal interviews with John. John also provided names of witnesses to the Reading
police, who, following their investigation, brought no charges against John.

15. On February 5, 2016, approximately three weeks after making her complaint to
Reading police, the Accuser complained to Albright authorities

l6. In brief, the Accuser alleged that on January 7, 2016, she had been drinking
alcoholic beverages with friends, including John, at a bar in Reading near the Albright campus.

She then accompanied John to his home where she stayed the night.

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17. The Accuser stated that, due to her voluntary consumption of alcoholic beverages
that night, she had no recollection of the events that occurred after she entered John’s home, but
that she somehow believed that she had been sexually assaulted by John.

18. The Accuser, in her statement to investigators, described herself as an amnesiac
who did not remember the critical portion of the night in question. She told investigators that
she was with John at the bar, where she became voluntarily intoxicated, and then voluntarily
drove with John to his home. She further claimed that she had no recollection of the time period
during which she was supposedly sexually assaulted She did not tell investigators that she did
not consent to having sexual relations with John, or in any way objected to having sex with John.
She also did not claim that she was unconscious during sexual relations with John.

19. The Accuser’s statement consisted of two pages, only two paragraphs of which
had to do with the acts alleged. The remainder of her statement addressed John’s alleged
behavior relative to Boyfriend, a lacrosse teammate of John’s, and other ancillary matters.

20. ln her statement to Albright, the Accuser omitted crucial facts. She omitted that
she invited John to meet her at the bar. She also omitted that she purchased and provided
alcohol to John. She also omitted that at the bar she asked John to drive her in her car to his
home. She further omitted that she told him at the bar that she wished to stay the night at his
home. She further omitted that she saw John’s roommate (“Witness l”), in the bedroom. She
further omitted to mention any of the numerous persons present in John’s home the morning
after the alleged assault. She further omitted that, the following morning, she drove with John
back to the bar (in order to attempt to close out her bar tab), and then back to John’s house. She

also omitted that she had continued social contact with John following the supposed assault,

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including attending a party at John’s house along with Boyfriend a week afterwards, and
following and “liking” John’s social media posts. These omissions, concerning periods of time
during which the Accuser did not claim to have amnesia, were willful.

2l. Albright conducted virtually no investigation of the matter. Its entire investigation
consisted of four interviews Three of the interviews were of female students, including the
Accuser. Despite other male students being present at the bar and at John’s home, and other
male witnesses having exculpatory evidence regarding the events on the night in question and
the next moming, the only male student interviewed was John.

22. The two other female students named by the Accuser were interviewed on March
10, 2016. Their interviews were each less than one page in length. They denied any knowledge
of the assault, or of any untoward events whatsoever, and one even denied being present at the
bar or afterward

23. John voluntarily submitted to multiple interviews with the Albright investigator in
which he admitted to having sex with the Accuser, but insisted that the sex was initiated by the
Accuser and was entirely consensual John’s initial written interview was four pages in length
and, in stark contrast to the Accuser’s statement, provided a detailed description of the events of
the night in question.

24. In its investigation, Albright employed a female lead investigator, Becki Achey,
who, as noted, interviewed three female witnesses including the Accuser, and no male witnesses
other than John. l\/ls. Achey reported to a female Assistant Dean of Students and Director of
Community Standards, Amanda Hanincik. l\/ls. Hanincik, in tum, reported to a female Vice-

President of Student Affairs and Dean of Students, Gina-Lyn Crance.

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25. ln Albright’s investigation, despite their being several male witnesses to the
alleged events of January 7, 2016, no male witnesses other than John were interviewed,
including a male witness (“Witness 2”), who accompanied John and the Accuser home after
leaving the bar, and slept in John’s house that night; and John’s roommate Witness l, who slept
in the same room as John and the Accuser on the night in question, and observed John and the
Accuser in bed the following morning engaged in soft conversation Albright further did not
interview another male witness (“Witness 3”), who observed the Accuser’s friendly interactions
with John at the bar, and who also had information regarding the Accuser previously lying about
having sex with Witness 3 in order to make Boyfriend, who was Witness 3’s roommate, jealous.
These male witnesses had clear exculpatory evidence, yet Albright investigators declined to even
interview them.

26. Albright also did not interview the Accuser’s Boyfriend, who was a fellow
member of the lacrosse team with John, and thus likely to become aware of the Accuser’s sexual
interlude with his teammate (with the obvious resultant displeasure, anger, or jealousy) even
though other interviews confirmed that the Accuser told him some version of her story. The
Accuser’s boyfriend also would have confirmed that the Accuser, following the events in
question, attended a party at John’s house with Boyfriend, and that the Accuser had previously
lied about having sex with his roommate, Witness 3, in order to make him, Boyfriend, jealous.
Although Albright investigator Achey was in close contact with a Reading Police Department
investigator who interviewed Boyfriend, Achey never sought a copy of the interview.

27. As Albright’s biased and uninformed approach to the investigation became clear

to John, he sought the assistance of a relative (“Relative”) who is licensed to practice law in

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Pennsylvania.

28. Relative read the statements generated by Albright’s investigation, and
interviewed John. Relative then corresponded with Dean Hanincik via a series of emails.

29. In that series of detailed emails, Relative, among other things, pointed out the
inherent impossibility of proving an allegation whose underlying facts cannot be known because
the investigation relies on the delayed report of a person who did not even remember the events
in question.

30. Also in his emails to Hanincik, Relative noted the existence of additional
witnesses not interviewed by Albright, including Witness l and Witness 2. He related facts
revealed to him by John (and some included in John’s Albright interviews) that directly
contradicted the Accuser’s version of events, and which could be confirmed by independent
witnesses that Albright had declined to interview.

3l. Relative repeatedly encouraged Albright to make additional investigative efforts
He proposed a reasonable disposition of the matter pursuant to the behavior that John had in fact
engaged in, that is, underage drinking

32. Albright rejected and rebuffed every request to expand their investigative efforts
lnstead, declining to even attempt to discover further information, it treated John as if he had
already been found guilty. He was dismissed from the lacrosse team and was told to notify his
coach of the dismissal in person. While he was allowed to attend classes, he was not permitted
in the cafeteria or gym. He was also directed to avoid the Accuser.

33. After its minimal and biased investigation, on March 23, 20l6, Albright formally

charged John with Jeopardizing Safety-Sexual Misconduct, and set a hearing date of March 31,

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2016 before a panel of Albright’s Cornmunity Standards Hearing Board. The charging
document was a letter signed by Amanda Hanincik. That letter also falsely and unlawfully stated
that John was entitled to an Advisor, but that the Advisor must be “... any Albright full-time
faculty, student, or staff member,” in direct contravention of Title IX.

34. Prior to the hearing, Albright refused to provide John with the names of the
members of the panel that would decide the case.

35. The hearing was overseen by Amanda Hanincik, the same Albright administrator
who had approved the charges against John. The “Hearing Officer” was a female teacher, Denise
Greenwood.

36. Albright initially limited John to the calling of one witness on his own behalf, and
then refused to allow him to call even that single witness, citing a purported “lack of notice” and
incredibly asserting that any witness must be an Albright student. This was in direct violation of
the procedures set forth in the Compass, and under Title IX, which contained no such limitations
This inability to call witnesses for entirely invalid reasons severely prejudiced John’s ability to
contest the charges against him.

37. At the hearing, Albright, over John’s objection, required him to testify prior to the
Accuser, which also was in clear violation of its own policies and procedures as contained in the
Compass, which were cited to the Board at the time, as well as Title lX. This known violation of
Albright’s own policies and procedures and Title IX deprived John of the ability to rebut the
Accuser’s testimony - which differed greatly from her statement to Albright’s investigator - and
allowed the Accuser to shape her testimony in reaction to the accused’s testimony.

38. At the hearing, the Accuser was not required to be present. lnstead, she was at a

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remote location, and, on information and belief, in the company of Albright’s female
investigator Rather than testify in person, she testified, after John, by voice only, over the
telephone. This unfairly deprived John of the ability to confront his accuser in person, and
deprived the Board of the ability to fully assess the Accuser’s credibility, including in relation to
John’s credibility.

39. As noted, the Accuser’s testimony differed substantially from her statement to
Albright’s investigator, yet John was prohibited from cross-examining the Accuser and the panel
then declined to pose questions to the Accuser that had been submitted by John.

40. John’s advisor, Relative, was permitted to be present at the hearing, but not
allowed to participate When Relative noted the egregious procedural errors he was threatened
with expulsion from the proceedings When he attempted to consult with John, as is permitted,
he was again threatened with expulsion, ostensibly for speaking loudly, while the panel ignored
Relative’s explanation that John suffers from Attention Deficit Hyperactivity Disorder (“ADD”),
which required reasonable accommodations under the Americans with Disabilities Act and
Section 504 of the Rehabilitation Act.

41. After being denied the ability to call exculpatory witnesses being required to
testify prior to his accuser, and then confronted with the altered testimony of a self-proclaimed
amnesiac, offered over the telephone, the hearing was adjoumed. John was notified on April 6,
2016 that he had been found responsible for sexual misconduct

42. Albright imposed a formal penalty of suspension, probation, and counseling of an
unspecified nature, but John had already been dismissed from the lacrosse team. Word spread of

the outcome of the hearing and John became very depressed His school work suffered because

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he was too embarrassed to attend classes He was forced to leave school, return to his parents’
home, and was confronted with questions about why he was not at school and playing lacrosse.

43. John is innocent of the charges brought against him, and was wrongly found to
have committed the charged offense.

44. John appealed the erroneous finding in a timely manner by notice to Dean Crance.
ln his appeal, John cited the egregious procedural errors made by the panel, after-discovered
evidence, and the fact that the panel had made a clearly erroneous decision. John requested a
dismissal of the charges or, in the alternative, a new hearing.

45. Albright ignored John’s argument for a dismissal of the charges against him.
lnstead, Crance, by letter to Dean Hanincik, copied to John and others, announced that she was
“remanding this matter for a new hearing before the same Community Standards 'Hearing Board
chaired by Denise Greenwood.” (emphasis added)

46. ln her letter, Albright, through Crance, acknowledged the impropriety of
requiring John to present his testimony at the hearing before the Accuser. Albright further
acknowledged the impropriety of denying John the ability to call witnesses at the hearing.
Albright thus admitted that the procedures utilized in the first hearing violated Albright’s own
policies and procedures and Title IX.

47. ln her “remand letter,” Crance directed the hearing panel to “submit special
findings of fact on the issue of consent.” Crance, in addition, directed that the Accuser be
notified that John would be advised by a lawyer at the hearing and that the Accuser may also
have a lawyer for an advisor.

48. The Compass, containing Albright’s published guide to its disciplinary

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procedures makes no provisions for a “remand” or “rehearing.” Nor does it contain any
reference to or permission for “special findings”

49. As noted above, Albright intended to proceed with a rehearing via a panel that
was made up of the same members as the first panel that had found John responsible Albright
denied John’s request for a panel made up of new members for the sake of fairness, but in the
event utilized new panel members to accommodate vacation schedules

50. Prior to the “remand” hearing, John continued to explain to Albright, via
correspondence to its counsel, Stock and Roland, the nature of the failures of Albright’s
investigation and the logical impossibility of a finding of responsibility on the part of John based
on the facts alleged in the interviews conducted John’s arguments were ignored and a new
hearing was held.

51. While awaiting the rehearing, John made a number of additional requests of
Albright. John requested a copy or transcript of the audio tape of the first hearing. That request
was denied. John requested the names of the persons who would make up the panel of the
rehearing That request was also denied. John requested the details of the vote of the initial
panel. That request was also denied. John submitted questions to be posed to the Accuser at the
rehearing. None were, in fact, posed. John requested that he be permitted to call an expert
witness on the topic of blackouts (as the Accuser alleged that she experienced). That request was
also denied. John requested to present witnesses to his character at the hearing. That request was
also denied. John requested that the character witnesses’ written statements be placed before the
panel. That request was also denied. John requested that Albright obtain the presence at the

rehearing of a student/witness inaccessible to John. That request was also denied.

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52. All of these requests were denied by Dean Hanincik, who had supervised the
investigation, presided over the first hearing, and presided over the rehearing, which took place
on June 6, 2016.

53. Prior to the rehearing John, at his own effort and expense, had interviews
conducted and reduced to written form. John obtained for the rehearing the voluntary appearance
of witnesses who were known to Albright, but never interviewed or even contacted by Albright,
despite their being identified to Albright by John.

54. During the rehearing, Dean Hanincik repeatedly interfered with the ability of
Relative to communicate with John by interrupting their conversations and even threatening to
expel Relative from the proceedings

5 5. During the rehearing, Dean Hanincik also vigorously attempted to preclude John
from entering into evidence a letter from an expert to counter the Accuser’s testimony that a rape
counselor had concluded that she had been assaulted Ultimately, despite Dean Hanincik’s
efforts to preclude the expert letter in whole or part, the letter was introduced into evidence only
after a Board member insisted that he wished to view the expert’s letter.

56. ln spite of these procedural irregularities and Dean Hanincik’s persistent refusal
of J ohn’s requests, the panel found John “not responsible” for the alleged assault.

57. This finding did little to alleviate the damages caused by the unfair results of the
first hearing, which was fatally marred by Albright’s violations of its own policies, its
perfunctory and biased investigation, and its violations of Title lX.

5 8. John suffered, and continues to suffer, great emotional damages caused by

Albright’s actions and inactions as set forth above. The subsequent finding of “not responsible”

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did nothing to vitiate the damage to John’s reputation caused by the initial flawed proceedings
and result. As a result of the flawed proceedings and result, John was emotionally unable to
return to Albright. He became socially isolated, and suffered, and continues to suffer, great
humiliation. John, due to his Suspension and subsequent inability to continue at Albright
following the initial finding of “responsible,” even following the result of the second hearing,
has further been damaged in his future educational and job prospects Both John and his parents
also have been damaged financially by the payment of tuition and fees that became of little value
once John became unable to return to Albright to complete his school year, or his degree.

V. Claims Asserted

COUNT I - BREACH OF CONTRACT
All Plaintiffs Against Defendant

59. Plaintiffs incorporate by reference all preceding paragraphs in this Complaint.

60. ln Pennsylvania, disputes like the present one between a student and a private
college are cognizable as breach of contract actions Reardon v. Alleghenv Coll., 926 A.2d 477,
480 (Pa. Super.2007) (citing Barker v. Trustees of Brvn Mawr Coll., 278 Pa. 121, 122 A. 220,
221 (1923)), appeal denied, 596 Pa. 755, 947 A.2d 738 (Pa. 2008).

61. “”[W]e review the agreement between the parties concerning disciplinary
procedures contained within a portion of the student handbook [ ] as we would any other
agreement between two private parties” ld_.; see also Gati v. University of Pittsburgh of
Commw. Sys. of Higher Ed., 91 A.3d 723, 730-31 (Pa. Super. 2014); Dil\/ledio v. University of
the Sciences in Philadelphia, 2013 WL 11251568 at*3 (Pa. Super. Oct. 2, 2013) (“Even though

the contract between the parties is contained in a Student Handbook, ‘we review the agreement

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between the parties as we would any other agreement between two private parties ) (quoting
RearM', 926 A.2d at 480). “The contract between a private institution and a student is
comprised of the written guidelines policies and procedures as contained in the written
materials distributed to the student over the course of their enrollment in the institution.” GLti,
91 A.3d at 731. See also Hart v. University of Pittsburgh, 2014 WL 4218616 at *18 (W.D. Pa.
Aug. 25, 2014). Federal courts applying Pennsylvania law employ a similar analysis E l\lo_rth
y._ Widener Univ., 869 F. Supp.2d 630, 637 (E.D. Pa. 2012); Hart v. University of Scranton, 838
F. Supp.2d 324, 327 (M.D. Pa. 2011) (“ln Pennsylvania, ‘the relationship between a private

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educational institution and an enrolled student is contractual in nature. ) (quoting Swartley v.
M, 734 A.2d 915, 919 (Pa. Super.l999)). ln appropriate circumstances courts will also
look outside of written documents to ascertain the contractual relationship, including the
existence of any implied contract, between the parties Pik v. University of PennsVlvania, 2010
WL 3933275 at *7 (E.D. Pa. Oct. 7, 2010).

62. Pursuant to this authority, the provisions of the Albright student handbook, the
“Compass,” comprised a binding contract between John and Albright.

63. The provisions of the Compass also formed a binding contract between John’s
parents Joseph and Jane Doe, and Albright. Joseph and Jane Doe paid substantial tuition and
other costs in consideration for, inter alia, Albright’s expected compliance with the procedures
set forth in the Compass.

64. Albright committed material breaches of several provisions of the Compass.

65. For instance, under the heading “Procedures” in the section “Administrative and

Board Hearings,” the “Complainant” is required to first “present[] case and evidence” and “call[]

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witnesses.” Only after the Complainant presents his or her evidence does the “Accused student
present[] case and “call[] witnesses.” ln the March 31, 2016 hearing, John, the “Accused,” over
objection, was required to testify first, before the Complainant This bizarre procedure was a
clear and direct violation of the procedures set forth in the Student Handbook, and resulted in:
(a) John’s being prevented from having the opportunity to rebut the Accusers’ testimony, (b) the
Accuser having the benefit of hearing John’s truthful version of events so that she could, and
did, mold her version of events in response to John’s, and (c) effectively shifting the burden of
proof to the accused Albright later admitted that this process was improper

`66. John was also prohibited from calling crucial witnesses in his case, and indeed
was allowed to call only a single witness in direct violation of Title IX and the provision in the
Compass regarding the Rights of the Accused,” which includes “the right to call witnesses...”
The ostensible reason given was that John had not given 24 hours notice of his intent to call the
witnesses However, no “24 hour notice” provision was contained in the outline of applicable
hearing procedures (in the sections entitled “Process” and “Procedures”); instead it appeared in a
“Definitions” section following the word “witness” Moreover, nothing in the Compass allowed
Albright to entirely preclude crucial witness testimony on this basis Indeed, Albright
subsequently admitted that the Compass did not allow the preclusion of witnesses on this basis
As Albright has admitted, “[s]uch witnesses are important in a case where credibility is a
significant issue.”

67. The Accuser was also improperly allowed to testify by telephone While the
Compass contained a provision that allowed for “alternative options” to be used to separate an

accuser and a respondent during a hearing, nothing in the Compass permitted the Accuser to

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phone in her testimony, and thus deprive the Board of the ability to directly assess her credibility
in person. There was nothing preventing, for instance, John from being able to listen to and view
the proceedings remotely while the Accuser testified in person before the Board. ln a
proceeding where assessment of the relative credibility of the Accuser and John was absolutely
crucial, allowing the Accuser to avoid direct scrutiny of her testimony and demeanor was a
serious and prejudicial violation.

68. Defendant’s violations of the procedures set forth in the Albright student
handbook, the Compass, constituted a breach of the contract between Albright and John.

69. The breach resulted in an unfair hearing and an erroneous result, which caused the
John emotional, financial, and other damages

70. Plaintiffs were financially damaged by having to pay for tuition, books fees a
meal plan, housing, and other incidental costs all of which were borne by John’s parents and are
subject to repayment, and all of which were rendered useless by Albright’s actions and inactions
in pursuing meritless charges of sexual misconduct and violating its own procedural rules in
violation of Plaintiffs’ contract with Albright.

71. The breach of contract was of such a kind that serious emotional disturbance was
likely in the event of a breach in that failure to follow the policies and procedures set forth in the
Compass would likely lead to an erroneous finding of sexual misconduct as in fact, happened in
this case, causing John great embarrassment, humiliation, and emotional harm. Therefore, John
can also recover damages for the emotional harm and for other compensatory damages resulting
from Defendant’s breach. Salsi v. Paul Revere Life, 2006 WL 1405-85 at *3 (E.D. Pa. Jan. 13,

2006) (citing, inter alia. Birth Center v. St. Paul Comnanies. Inc., 787 A.2d 376, 385 (Pa. 2001);

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Novick v. Unumprovident Corn., 2001 WL 793277 at *l (E.D. Pa. July 10, 2001)).
COUNT II - VIOLATION OF TITLE IX
Plaintiff John Doe Against Defendant

72. Plaintiffs incorporate by reference all preceding paragraphs in this Complaint.

73. Title IX of the Educational Amendments of 1972, 20 U.S.C. § 1681(a) (“Title
IX”) provides in pertinent part: “No person shall, on the basis of sex, be excluded from
participation in, be denied the benefits of, or be subjected to discrimination under any education
program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a). Title IX is
enforceable through an implied right of action. Franklin v. Gwinnett County Public Schools
503 U.S. 60, 65 (1992).

74. The United States Department of Education and the United States Department of
Justi,ce have also adopted regulations that require schools to “adopt and publish grievance
procedures providing for the prompt and equitable resolution of student complaints alleging
any action that would be prohibited by” Title IX regulations 34 C.F.R. § 106‘.8(b); 28 C.F.R. §
54.135(b).

75. To prove a prima facie case under Title lX, a plaintiff must plead and prove that he
was excluded from participation, denied the benefits of, or subjected to discrimination in an
educational program, that the program receives federal assistance and that the exclusion was on
the basis of his sex.

76. At all relevant times Defendant received federal financial assistance from several
sources

77. Where a student seeks damages resulting from the erroneous outcome of a school

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disciplinary proceeding under Title IX, courts have generally followed the framework developed

in Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir.1994). § Harris v. Saint Josenh’s Univ.,

 

2014 WL 1910242 at *4 (E.D. Pa. May 13, 2014); Doe v. Washington and Lee Univ., 2015 WL
4647996 at *9 (W.D. Va. Aug. 5, 2015).

78. i_(u_s£frecognized two categories of claims of gender bias in university discipline:
(a) claims of an erroneous outcome from a flawed proceeding; and (b) claims of selective
enforcement His 2014 WL 1910242 at*4 (citing Scott v. Worldstarhir)hop, lnc., 2011 WL
5()82410 at *4 (S.D.N.Y. Oct. 25, 2011), vacated on other grounds 2011 WL 13079877
(S.D.N.Y. Dec. 12, 2011)).

79. John in this matter asserts his Title lX claim under an erroneous outcome of a
flawed proceeding

80. John is innocent and was wrongly found to have committed the offense for which
he was initially found “responsible.”

81_. The outcome of the original March 31, 2016 hearing, wherein John was found to
be “responsible” on the charge of “jeopardizing safety ~ sexual misconduct,” and a suspension
was imposed, was manifestly erroneous lndeed, at the subsequent July 14, 2016 hearing, where
the proceedings were, although still flawed, less flawed than in the original hearing, John was
found to be “not responsible.”

82. The circumstances herein establish that gender bias was a motivating factor

behind the erroneous finding Harris 2014 WL 1910242 at *4.

 

83. The particular circumstances of Defendant’s investigation of the alleged assault

and the conduct of the March 31, 2016 hearing establish that gender bias was a motivating factor

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behind Defendant’s actions and inactions and ultimately the erroneous finding following the
March 31, 2016 hearing that John was “responsible” on the false charges

84. In Defendant’s investigation, despite there being several male witnesses to the
alleged events of January 7, 2016, no male witnesses other than John were interviewed
including Witness 2, who accompanied John and the Accuser home after leaving the bar, and
slept in the John’s house that night; and John’s roommate, Witness 1, who slept in the same
room as John and the Accuser on the night in question, and observed John and the Accuser in
bed the following morning engaged in soft conversation Despite the clear and obvious
relevance of their information, Defendant failed to interview these male witnesses but instead
interviewed, besides the Accuser, only two female students both friends of the Accuser, one of
whom was not even present on the night in question, and the other of whom merely saw the
Accuser and John together at the bar prior to their leaving together (along with Witness 2).
These circumstances clearly indicate that Defendant was not interested in pursuing information
highly relevant to the investigation because it was favorable to the male accused student and was
in the hands of male, not female, witnesses even though the information of the male witnesses
both of whom were present in the house (and one who slept in the same room as the Accuser and
John), was far more probative than that of the female “witnesses.” 'Even when John, through
counsel, pointed out this flaw, Defendant nevertheless failed to interview the male witnesses

85. At the March 31, 2016 hearing itself, Defendant required the male respondent,
John, to testify in person. Yet, Defendant allowed the female Accuser to testify by telephone
Thus the female Accuser was allowed to escape in-person scrutiny of her credibility - which

was a crucial, indeed, likely determinative issue in the matter - and treated fundamentally

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different from John, for no other reason than the gender of the respective parties

86. Moreover, at the hearing, John was inexplicably required to testify prior to the
Accuser’s testimony, such that he was unable to respond to the specifics of her testimony. The
procedure set forth in the student handbook, the Compass, required that an accuser testify and
present evidence before the accused, and there is no exception (and could not properly be an
exception) for cases involving accusations of sexual misconduct Yet, John was forced to testify
before the Accuser. Again, this clearly establishes an unfair and discriminatory view of John
and the Accuser based on gender. There can be no conceivable gender-neutral, non-
discriminatory purpose in requiring an accused male to testify in person before his female
accuser testifies via telephone, thereby depriving him of the ability to rebut her testimony, and
allowing her to shape her testimony in reaction to the accused’s testimony. To the contrary,
these processes created a gender-based purpose of benefitting, assisting, and “protecting” the
female Accuser to the detriment of the male respondent

87. Moreover, the flawed, shoddy, incomplete and biased investigation, together with
the outcome at the first flawed hearing, and the different outcome of the second hearing, clearly
presented a gender bias in favor of the Accuser.

88. From these particular circumstances the gender bias in the form of favoring a
female accuser of sexual assault over a male student accused of sexual assault, and favoring
female witnesses with little relevant information over male witnesses with far more pertinent
evidence, led to the erroneous outcome of the l\/larch 31, 2016 hearing

89. As a result of these violations which led to the erroneous outcome of the March

31, 2016 hearing, John was excluded from major aspects of his educational program, and further

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suffered further damages as described herein, including profound embarrassment and
humiliation among his friends and peers; was so emotionally affected by Albright’s actions that
he could not focus on his academic work during the pendency of the proceedings and was unable
to complete the semester; and thereafter was emotionally unable to return to Albright as a
student. He has required professional assistance to address the emotional, financial, and
academic damage caused by Albright’s discriminatory actions and he will never be able to fully
overcome the harm to important personal relationships and his reputation caused by the
dissemination of the false allegations and the erroneous decision of the first hearing He will
suffer loss of future earning power as a result of the Defendant’s actions and inactions

90. Plaintiffs who prevail in an action under Title IX are entitled to an award of
monetary/compensatory damages reasonable attorneys’ fees and costs 42 U.S.C. § 1988;
Dawn L. v. Greater Johnstown School Dist., 586 F. Supp.2d 332, 386-87 (W.D. Pa. 2008).

COUNT III - VIOLATION OF THE PENNSYLVANIA
UNIFORM TRADE PRACTICES AND CONSUMER PROTECTION LAW

All Plaintiffs Against Defendant

91. Plaintiffs incorporate by reference all preceding paragraphs in this Complaint.

92. Pennsylvania’s Uniform Trade Practices and Consumer Protection Law
(“UTPCPL), 73 Pa. C.S. §§ 201-1, wh creates a private cause of action for “[a]ny person
who purchases or leases goods or services primarily for personal, family or household purposes
and thereby suffers any ascertainable loss of money or property” as a result of the Seller’s
deceptive or unlawful actions Harris v. Saint Joseph’s Univ., 2014 WL 1910242 at *6 (E.D. Pa.
may 13, 2014) (quoting Wise v. American Gen. Life Ins Co., 2005 WL 670697 at *7 (E.D. Pa.

2005) (quoting 73 Pa. C.s. § 201-9.2(3)).

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93. “‘To state a claim under the UTPCPL, a plaintiff must show: (1) deceptive
conduct; (2) an ascertainable loss; (3) justifiable reliance on the defendant’s wrongful conduct or
misrepresentations and (4) that such reliance caused an injury.”’ Ha_rris 2014 WL 1910242 at
*'7 (quoting Pellegrino v. State Farm Fire and Cas Co., 2013 WL 3878591 at *8 (E.D. Pa.2013).
See also Sibeto v. Capella Univ., 2014 WL 3547347 at *4 (W.D. Pa. June 13, 2014).

94. Defendant engaged in deceptive conduct, including the following:

a. Representing, warranting and/or guaranteeing that Defendant trained its
employees and agents in the proper and unbiased investigation and
adjudication of complaints of sexual misconduct when, in fact, it had not.

b. Representing that it would conduct a proper, fair and impartial
investigation and adjudication of The Accuser’s allegations against John
when, in fact, it would not, and did not;

c. Representing that it would follow its own procedures in connection with
the first hearing when, in fact, it would not, anddid not; and

d. Misrepresenting Albright’s compliance with Title IX.

95. Plaintiffs purchased educational services from Albright for which they remitted
payment

96. Plaintiffs sustained an ascertainable loss due to Defendant’s deceptive practices in
the form of payment of tuition and fees which proved to be valueless when, due to Defendant’s
deceptive practices and their effects on him, John was unable to remain in school.

97. ln addition to compensatory damages the UTPCPL authorizes courts to grant

prevailing plaintiffs reasonable attorneys’ fees and costs to be awarded from defendants 73 P.S.

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§ 201-9.2; Neal v. Bavarian l\/lotors Inc., 882 A.2d 1022, 1029-30 (Pa. Super. 2005); Huu Nam
Tran v. l\/letropolitan Life lns. Co., 2006 WL 2623230 at **1-2 (W.D. Pa. Sep. 12, 2006).

98. ln addition, courts may award treble damages for violations of the UTPCPL. 73

Pa. C.S. 73 § 201-9.2; Werwinski v. Ford Motor Co., 286 F.3d 661, 668 (3d Cir. 2002).
COUNT IV - NEGLIGENCE
John Doe Against Defendant

99. Plaintiffs incorporate by reference all preceding paragraphs in this Complaint.

100. Defendant, by virtue of its instituting disciplinary proceedings against him and
otherwise, owed Plaintiff John Doe a duty to conduct the investigation and adjudication of The
Accuser’s accusation fairly, thoroughly, and without bias and to conduct a fair, impartial, and
unbiased hearing to obtain a true verdict

101. Defendant breached that duty through the actions set forth above

102. Defendant’s breach of duty caused John Doe considerable financial and emotional

damages as set forth above

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VI. Relief Reguested

103. Plaintiffs seek monetary damages treble damages and reasonable attorneys’ fees

and costs under the UTPCPL; monetary damages and reasonable attorneys’ fees and costs under

Title lX; monetary damages under Pennsylvania law; and any other relief this Court deems

necessary and proper.

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Respectfully submitted,

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